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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, ex rel.
LUCIA PACCIONE

                    Plaintiffs,
                                              Civil Action No. 03-6268 (
        v.
CEPHALON, INC.,

                    Defendant.

UNITED STATES OF AMERICA, and the
States of CALIFORNIA, DELAWARE,
FLORIDA, HAW All, ILLINOIS,
LOUISIANA, MASSACHUSETTS,
NEVADA, NEW HAMPSHIRE, NEW                    Civil Action No. 03-6277 (
MEXICO, TEXAS, TENNESSEE,
VIRGINIA, and the DISTRICT OF
COLUMBIA ex rei. JOSEPH PIACENTILE

                    Plaintiffs,

        v.
                                                         FILED
                                                          APR -1 2013
CEPHALON, INC.,
                                                       MICHAEl E. KUNZ, Clerk
                    Defendant.                         By           Dep. Clerk

UNITED STATES OF AMERICA, ex rel.
MICHAEL MAKALUSKY
                                                                           '1    '
Plaintiffs,

V.
                                              Civil Action No. 05-1904   K
CEPHALON, INC.,                                                          \
Defendant.
          Case 2:05-cv-01904-TON Document 11 Filed 04/01/13 Page 2 of 4




UNITED STATES OF AMERICA, and the
States of CALIFORNIA, DELAWARE,
FLORIDA, HAW All, ILLINOIS,
MASSACHUSETTS, NEVADA, NEW
MEXICO, TEXAS, TENNESSEE, NEW                        Civil Action No. 04-4401;(
YORK, VIRGINIA, and the DISTRICT OF
COLUMBIA ex rel. BRUCE BOISE

Plaintiffs,

v.

CEPHALON, INC.,

Defendant.


                                            ORDER

        AND NOW, this_.._/_ _ day of_..,...,....._,_i~.'--r_"--"-----' 2013, after consideration

of Defendant's unopposed Motion to for Limited Disclosure of Certain Documents, it is

ORDERED that Defendant's Motion is GRANTED. The United States is DIRECTED to serve

upon Cephalon, Inc. only the following Orders ofthe Court from the above-captioned Paccione

matter, 03-cv-6268:

               1.     Jan. 26, 2004 (Docket No.4)

               2.     Feb. I7, 2004 (Docket No.7)

               3.     MarchIO, 2004 (Docket No.9)

               4.     Aug. 9, 2004 (Docket No. II)

               5.     Jan. I9, 2005 (Docket No. I4)

               6.     Jan. I9, 2005 (Docket No. I5)

               7.     Feb. 9, 2005 (Docket No. I7)

               8.     Aug. 8, 2005 (Docket No. I9)

               9.     Jan. 27, 2006 (Docket No. 22)
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              10.    July 31,2006 (Docket No. 24)

              11.    Jan. 30, 2007 (Docket No. 27)

              12.    Jan. 30, 2007 (Docket No. 28)

              13.    Aug. 6, 2007 (Docket No. 30)

              14.    Jan. 30, 2008 (Docket No. 33)

              15.    May 12, 2008 (Docket No. 35)

              16.    June 9, 2008 (Docket No. 37)

              17.    July 14, 2008 (Docket No. 39)

              18.    Aug. 11, 2008 (Docket No. 41)

              19.    Sept. 11, 2008 (Docket No. 43)

       The United States is FURTHER DIRECTED to serve upon Cephalon, Inc. only the

following motion by the United States in the above-captioned Paccione matter:

              20.    Jan. 18,2005 (Docket No. 13).

       The United States is FURTHER DIRECTED to serve upon Cephalon, Inc. only the

following Orders of the Court from the above-captioned Piacentile matter, 03-cv-6277:

              21.    April 12,2005

       The United States is FURTHER DIRECTED to serve upon Cephalon, Inc. only the

following Orders of the Court from the above-captioned Boise matter, 04-cv-440 1:

              22.    Sept. 21, 2004 (Docket No. 3)

              23.    Nov. 30, 2004 (Docket No. 6)

              24.    May 19, 2007

       The United States is FURTHER DIRECTED to serve upon Cephalon, Inc. only the

following Orders of the Court from the above-captioned Makalusky matter, 05-cv-1904:
         Case 2:05-cv-01904-TON Document 11 Filed 04/01/13 Page 4 of 4




               25.     Aug. 23, 2005 (Docket No.5)

               26.    Aug. 29, 2005 (Docket No. 6)

       Counsel for Cephalon, Inc. is ORDERED to serve the foregoing documents upon counsel

for the State of South Carolina in the South Carolina state court litigation South Carolina v.

Cephalon, No. 2011-CP-40-3661 within five (5) days of receiving them from the United States.



                                              BY THE COURT:




                                              HON. THOMAS N. O'NEILL, JR.
                                              UNITED STATES DISTRICT JUDGE
